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EXHIBIT 18

 
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STUDENT GUIDE HOME

 

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STUDENT CONDUCT SYSTEM PROCESS

The Office of the Dean of Students coordinates the Student Conduct System and all matters
relative to student conduct and behavior In order to maintain a community that is conducive
to the overall missicn of Boston College.

The Student Conduct System has been developed to ensure the existence of an environment
that fosters the intellectual, personal, ethical, psychological, social, and spirituat potential of
all students. In keeping with the mission of Boston College, a conduct system should be, first
and foremost, educational in nature, However, there may be occasions when Issues of
community oF personal safety and well-being require severe But appropriate responses that
appear to supersede, but In actuality augment, iearning, Such a system has arnong its goals
personal development, moral and ethical enrichment, values formation, and ¢cttlzenship.

See Section 4. Community Standards and Policles for more Information.

Any case of alleged misconduct by any Boston College student is within the jurisdiction of
the Student Conduct System, The Student Conduct System is administered by the Vice
Presidant for Student Affairs though the Dean of Students and his/her staff, The Office of
the Dean of Students reserves the right to review the sanctions Imposed at any conduct
hearing te assure their appropriateness. ‘

Ip addition, in consultation with other appropriate University administrators, the Dean or
designee may separate a student from the University or from University housing If the
student presents @ substantlal health or safety risk, or if the Daan determines that the
student is unable to meet the community standards of Boston College.

The focus of inquiry in disetplinary proceedings shail be whether tha accused Is responsible
ot not responsible for violating disciplinary regulations or the community standards outlined
in the University Code of Student Conduct, The furctlon of the proceedings Is to Investigate.
the facts of the matter and to determine responsibility for alleged viclations. The process is
designed to enforce the University Code of Canduct, not criminal laws, though at times the .
two may colncide. Formal rules of evidence will net be applicable, and deviations from
prescribed procedures will not necessarily invalidate a deciston or proceeding unless
significant prejudice to a student or the University may result. Determinations of
“responsible” or *not responsible” within the Student Conduct System are based upon a
preponderance of the evidence, je, “more likely than not”, as presented to the hearing cfficer
or board.

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The following system exists to protect the rights of the Basten Collage community and
assure fundamental fairness to complainants and to students accused of any breach of the
University Code of Student Conduct.

 

THE COMPLAINT

i. A-student wilt become involved with the conduct system as a result of alleged violations
of the community standards of Boston College. Such violations will usually be documented
through a complaint or report submitted by a residential life staff member, Boston College
police officer, off-campus community Ifaison, neighbor, fellow student, University officlal, or
local police department, The conduct system applies to residentlal or non-residential
students, and governs the Investigation and adjudication of violations regardless of where
they occur.

2. Anyone who has grounds to Initiate a complaint regarding any Boston College student
may do so by submitting to the Office of the Dean of Students (Community Standards area)
the following information:

a, the names of the accused;
b. aclear statement explaining the nature and circumstances of the complaint; and
¢. the names, addresses, and telephone numbers of thase filing the compfaint.

3, Astudent wha has had a comolaint lodged against hirn or her will be called by the Dean
of Studants or designee to discuss the complaint, At the meeting, the case may be kept
open for later resolution, dropped, resolved, ar referred to an appropriate hearing beard as
determined by the Dean or designee.

4, The accused will also be given an opportunity to present a written statement in the
matter. ,

5, Soth the complainant and the accused will be given an equal opportunky to review any
statements submitted, by each other, In the matter, Any additional documents related to the
case must be submitted to the Dean's Office in advance of the hearing.

 

6 The Office of the Dean of Students reserves the rght not to proceed with complaints
that are not submitted within a reasonable time frame Je.g. after material witnesses are no
langert in attendance at the University.)

7. The Office of the Dean of Students reserves the right to Investigate and pursue ail
alleged vialations of cormmunity standards that come to the Office’s attention, including
eases in which the students ar other community members affected by the violation choose
not to fife or pursue a complaint. In such cases, a Untversity administrator with knowledge
of the matter will usually act as the complainant if the matter proceeds to the Student
Conduct Board or Administrative Hearing Board,

8. Most cases are resolved by administrative review as described below, However, at the
discretion of the Office of the Dean of Students, cases may be referred to the Student
Conduct Board or the Administrative Hearing Board for resolution,

9. Boston College prohibits retaliation of any kind against any individual fillng a complaint |
or participating In a discip!inary hearing involving a Boston College student. Such retallatlon
will result in disciplinary action.

 

Administrative Review/ Adjudication Hearing

The Dean or designee conducts the Administrative Review/Adjudication hearing. The
Administrative Review/Adjudication Is an informal hearing and fact finding process to discuss
the report and the related incident The accused studént will be sent a written, verbal, or
electronic notice of an Administrative Review/Adjudication hearing In which Ais or her
presence {s required, a minimum of 24 hours in advance of the meeting, unless deemed an
emergency. As a result of the hearing and the Dean’s review of the facts, the case may be
closed, a resolution may be reached, or the matter may be referred for further review.

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Determinations of "responsible" or "not responsible" within the Student Canduct System are
based upon a preponderance of the evidence, le. “more likely than not”, as determined by
the hearing officer or board.

Ih certaln cases of misconduct, the Dean may designate a member of the Residential Life
staff to conduct the heating, Once resolved, records of all cases will be maintained by the
Office of the Dean of Students. At the Administrative Review/Adjudication hearing, the
accused student wil} be present and the complainant may be present.

A student who dogs not respond to a request to schedule an Administrative
Review/Adjudication hearing or fails to appear for such a scheduled meeting could have the
case heard in his or her absence or have an administrative hold placed on their student
status. :

Deelsions that can be reached at the Administrative Review/Adjadication hearing are:
1. A case may be held for further information as determined by the Dean.

2. A case may be dropped ih circumstances where relevant information and evidence
concerning the alleged misconduct Is determined by the Dean ta be Inadequate for referral
to a Student Conduct Board or Administrative Hearing Board, or if the dean determines that
no further disciplinary action is required,

 

3.’ Acasa may be resolved by the Dean or designee or member of the Residentlal Life
staff,

4. A student who Is found responsible by the Dean or designee at the hearing, may
request that the sanction be reviewed by ancther official, To initiate such action, the student
must Inform, in writing, the original adjudicator that he or she would like a revlew, The case
then {s referred to the appropriate official, The review Is to determine whether or not the
imposéd sanctions are appropriate based on the facts, similar cases, prior record, and
Student Conduct System guidelines. The case is not re~heard. The review can result in an
upholding of the sanctions or a modification. The reviewing official's decision ts final,

 

5. A case may be referred to elther the Student Canduct Board or the Administrative
Hearing Board.

 

Student Conduct Board / Administrative Hearing Board

A-case may be referred directly to a Student Conduct Board er an Administrative Hearing
Board if the Dean or Residential Life staff mamber feels that such a referral Is appropriate, or
may be referred ta elther Board at the close of the Administrative Review/Adjudication
hearing. The Dean will determine which board will hear the case,

 

Board Referral: When a matter is referred to a board, the accused student will be sent a

copy of the conduct procedures. Cases that receive direct referral typically Involve

substantial threats to the health, safety, or tranquility of the members of the community,

such 3s assault and battery, larceny, sexual assault, major damages, major breaches of the
University Code of Student Conduct or the Conditions for Residency, recidivism, or off-

campus violations. A case in which two or more students are charged with haying

participated in the same Incident will be heard by a single board. If a student is found to i
have committed an offense by any board, the chair of the héaring board will have access to
the student's record of previous discipinary infractions, If any. This information can then be
used In deciding upon a sanction.

 

 

Student Conduct Board

Membership

 

The Student Conduct Board Is composed of four students from each undergraduate class
plus three non-voting chairpersons. Chairpersons, wha must have at least ane prior
semester of service as a board member, are elected via ballot by the general membership.

A panel of five voting members of the Student Conduct Board will hear individual cases, but
a panel of three may hear the case with the agreement of the complainant and the accused.

 

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Board members must disclose any real or perceived conflict of Interest between themselves
and any party and may not hear a case If they are not able to be [mpartlal in the hearing of
the case.

Replacement/ Dismissal

The Office of the Dean of Students may fill any openings en the Student Conduct Board that
occur during the academic year. If a simple majority of the chalrparsons of the Student
Conduct Board, In consultation with the Dean of Students or designee, feel that a member
should be dismissed from the board for failure to support the regulations, non-completion of
duties, breach of confidentiality, or being judged responsible of violating the University Code
of Student Conduct, they may do so, The opening will be filled by a replacement.
Chairpersons may be dismissed only by the Dean of Students. A replacement for a
chalrperson will be selectad by the Student Conduct Board members fromm thelr numbers in
an election.

 

Duties of Chairpersons

Chairpersons of boards convene them as necessary, make assignments as necessary,
determine the order of hearing cases (@.9,, witnesses, duration of testimony), determine
appropriateness of questions and/or testimony, and serve as the principal llaison between
the beard and the Office of the Dean of Students, The chairperson has final procedural
authority during the canduct of a hearing,

 

Decisions

Decisions that can be reached by the Student Conduct Board are “responsible,” "not
responsible," "no finding,” or "responsible for a lesser inclusive charge.” A simple majority
vote of the panel Is required to render a decision,

If the decision is "responsible," the board may recommend sanctions up to anc including
suspension or dismissal from the University.

Administrative Hearing Board
Membership

The Administrative Hearing Board is composed of three administrators, one faculty member
or academic administrator and one student, For a hearing, the three administrative
members are chosen from a poo! of incividuais identifled by the Dean of Students; the
faculty member or academic administrator from a pool identified by the Provost; and the
student from among the senior leadership of the Student Conduct Board, All board
members are tralhed by the Office of the Dean of Students. Chairpersons for the
Administrative Hearing Board are designated by the Dean of Students and receive additional
training, Board members must disclose any real or perceived conflict of Interest between
thernselves and any party and may not hear a case if they are not able to be impartial in the
hearing of the case.

 

Decisions

Decisions that can be reached by the Administrative Hearlng Board are *responsible,® "not
responsible,” "no finding," or "responsible for a lesser Inclusive charge." A simple majority
vote of the panel is required to render a decision.

Tf the decision Is "responsible," the board may recommend sanctions up to and Including
suspension or dismissal from the University, In addition, the Board, where appropriate, may
recommend other administrative measures designed to protect any party to the action from
retaliation or harassment.

The Administratlve Hearing Board has the authority to require students to appear as
witnesses in cases where the board determines that additional testimony Is necessary for a
full and fair hearing of a case. A student who falls to cooperate with the beard's request will
be subject to sanction by the Dean of Students,

Appeals Board

 

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Membership

The Appeals Board Is comprised of the Dean of Students or designee, the Director of
Residential Life or designee, and an administrator appointed by the Vice President for
Student Affalrs, A simple majority vote Is required to make a decision,

Board members: must disclose any reai or perceived canfilct of Interest between themselves
and any party and may not hear a case if they ara not abie to be tmpartial In the hearing of
the case,

 

Decisions

Decisions that can be reached by the Appeals Board are “responsible” or “not responsible." If
the decision is "responsible," the board may recommend sanctions up to and including
suspension or dismissal from the University. In addition, the Board, where appropriate, may
recommend other administrative measures designed protect any party to the original action
from retaliation or harassment,

‘The decision of the Appeals Board is final,

 

Conduct Board Procedures

L, The accused student and the complainant will be sent written notification of a hearing
a minimum of 72 hours in advance, indicating the type of board, tlme and location of
hearing, the names of all parties charged in the cornplaint and the name(s) of cornplainant

(s).

2, Elther party has the right to raquest that a partition be put in place curing the hearing
so that the opposing parties will not be visible to each other, Both parties will, however, be
visible by the board members. Final determination to use such a partition will be made by
the Office of the Dean of Students.

3, Neither party at the hearing will be allowed to use any type of slectronic davice,
including but not Bmited to laptop computers, tape or digital recorders, ceil phones, or
PDAs, without the advance written permission af the Dean.

 

4, At the hearing, the chairperson will convene the board, have all parties introduce
themselves, explain the purposes of the board, address the Issues of veracity and

\ coffidentiality, and explain the role of advisors If any are present. All witnesses will then be
asked tc laave the reorn.

 

5, Advisors

The complainant and the accused student may be accompanied by an advisor of thelr
choosing al a conduct board hearing. The UGBC Student Rights Committee has advisors
avallable who are trained to assist accused students, An attorney may be present and serve
as ah adviser to elther party only in Instances where the accused student has been arrested
or has had @ criminat complaint filed against him or her and the matter has not yet been
concluded In court, Hearings will not be scheduled or postponed based upon the avallability
of a student's advisor,

The role of the advisor at the actual hearing is limited. He or she Is pot entitled to address :
the Board cr act In any advocacy capacity at the hearing. The student and his or her advisor
can confer at any point during the hearing, but the advisor may not formulate specific
questions, responses, or statements for the student. Violations of the guldelines would result
in a warning being Issued te the advisor by the hearing official, Repeated violations may

result In the adviser being asked to leave the hearing reorn,

If either the complainant or the accused wishes to be accumpanled by an advisor to a
conduct hearing, he or she must inform the Office of the Dean of Stucants, in writing, a
ralnimum of 48 hours in advance of the hearing arid Indicate the name and phone number of
the advisor.

The University reserves the right to have legal counsel at a hearing to serve as an advisor to
the chairperson of the hearing board, The chairperson and legal counsel may consult
anytime during the hearing.

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Boston College officials Involved in the Student Conduct System will only discuss precedural!
matters with attorneys serving as advisors; alf other matters (written or verbal) will be
referred directly to the Office of the General Counsel. All substanilve questions, concerns, or
comments concerning the matter as well as any written correspondence, including the fillng
of an appeal, must come directly frem the student(s) invoived.

6, Witnesses

Both the complainant and the accused are entitled to bring witnesses to the hearing or to 1
present othar related evidence (photos, medical records, etc.), Witnesses shouid he able ta
speak to the facts of the incident which they have witnessed, In generat, character
witnesses ate not allowed to testify at conduct hearings; written character references may

be submitted to the board, It is the responsibillty of each party to notify their own witnesses
of the date, time, and location of the hearing, The Dean of Students Office does not notify
these witnesses, If either the complainant or the accused wishes to present wiinesses at the
conduct hearing, ha or she must Inform the Office of the Dean of Students, In writing, a
minimum of 48 hours in advance of the hearing and indicate the name and phona number of
the witness(es), *

 

The hearing board has the authority to require individuals to appear as witnesses In cases
where (t Is determined that their testimony is important and necessary for a full and fair
hearing of a case. ,

7 If the complainant cr accused student has evidence as to why a specific person should
not be on the Board hearing the case due to a conflict of interest, theywill be given an
opportunity te praesent this Information to the chairperson of the board at the start of the
hearing, If the chairperson determines that there Is evidence of a conflict, the board
member in question will be excused and another board member, if available, will be
substituted. The decision of the chairperson Is final.

 

8 -Tha chairpersen will Introduce the camolaint by reading the formal charges as
determined by the Office of the Dean of Students. The complainant will then have an
opportunity to read his/her incidant report to the board and to elaborate an it, The accused
wil! then have an opportunity to make @ full and accountable response to the complainant.
The accused may elect to remain silent, If he/she so chooses,

9, The board members may question both the complatnant and the accused on all
matters relevant to the complaint at any time during the hearing.

10, The accused and complainant will be given an opportunity to ask questions. All
questions, however, must be directed to and through the chairperson,

 

41. Witnesses, upon request of elthar complainant or accused, will make a presentation
concerning those facts that they are witness to, relevant fo the complalnt, and will then
answer questions posed by the board and Sy the adversarial parties.

12, Both the complainant and the accused ara then given an opportunity to make a final
statement to the heating board, The Chair may elect to glve each party a few minutes to
prepare these closing statements.

13. The Board will meet In private to determine whether the accused Is responsible or not
for the charae(s), based upon a preponderance of the evidence. If the finding is responsible,
the board will decide upon appropriate sanctions to recommend to the Dean,

The Dean‘s Office will send written notifleation of any decisions and/or sanctions reached as
a result of a hearing within five business days of the conclusion of the hearing.

NOTE: Boston College reserves the right to amend the above procedures as necessary.

APPEALS

How to File an Appeat

 

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If either a complainant or an accused student can demonstrate that he or she has been
denied a fair hearing of the case dué to procedural unfaimess or can Introduce evidence not
previously avallable that would be Nkely te change the result. of the prior hearing, an appeal
can be made to the Dean of Students and the Vice President for Student Affairs. The appeal
mist be filed In writing by the party (not the advisor) with the Dean and the Vice President
within five business days after notification of the sanctions. The Dean and the Vice President
(or thelr delegated representatives) will review the case and determine if the new evidence
or lack of a fair hearing requires consideration. The severity of a sanction is hot legitimate
grounds for an appeal.

 

A denial of a proper hearing would be a violation of the fairness rights listed In the
Statement of Rights and Responsibilities. New evidence ts evidetice which was unknown to
the party at the time of the original hearing and which could fave a significant impact on the
outcome of the case. It Is the responsiblity of the parties to maka every effort to gather
sufficlent evidence and witnesses for the original hearing. Failure to do so will be an
important facter In determining the appropriateness of a subsequent appeal based on new
evidence.

An appeal must contain the following information:

 

1. The name, address, and telephone number of the party.

2. Aclear statement explaining the nature and circumstances of the appeal, citing the new
evidence and/or the explanation with specifics of the alleged lack of fairness In the prior
hearing.

3. The names, addresses, telephone numbers, and written statements of new witnesses,
Written statements should include the general nature of their testimony and their assent to
appear at a board hearing,

 

4. The name of an advisor, if any.

At the discretion of the Dean of Studénts, sanctlons may be deferred while a request for an
appeal is belng considered. If the Dean and the Vice President decide that the appeal has
merit (.@., a case in which there is evidence of improper procedures or where new evidence
likely would change the previous result}, they will refer the appeal to the Appeals Board to
be reheard In tts entirety or refer it back to the origina! hearing board for further
adjudication.

GENERAL INFORMATION

Amending the Procedure

 

Proposals for amending the Student Conduct System should be submitted in writing to the
bean of Students, .

Confidentiality

All parties, including the accused student, the aggrieved party, and the hearing beard, are
required to respect the right of confidentiality of ether participants, Any unauthorized
disclosure of confidential information by participants to persons not Involved in the hearing
process as direct participants, advisors, or responsible administrators will be dealt with as a
-subsequent charge of as grounds for dismfssal from the beard.

 

in addition, all participants in the hearing process have a right to be free from intimidation -
and harassment. Students required to appear before a board, their advisors, and their
witnesses must not communicate with any member of any disciplinary board or with the
accusers and their witnesses prior te the hearing, Any implied or actual act of retaliation,
intimidation or harassment is strictly prohibited and will be dealt with as a subsequent and
serous charge.

 

As a general rule, all board hearings are closed,

Counseling Referral

 

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An Administrative Referral to University Counseling Services may be made when, in the
opinion of the Dean of Students or designee, a student has demonstrated indications of
emotlonal distress and/or substance abuse that could affect his or her functioning as a
member of the Boston College community. The referral requires that the student meet with
a member of Counseling Services to undergo a general psychological and/or substance
abuse evaluation, the general conclusions of which will be shared with the Dean as needed
within the bounds of confidentiatity.

Notification of Decisions

The accused student will be sent written notification of any decisions and/or sanctions
reached as a result of a hearing within 10 business days after a hearing, Notification of
whether or not the grounds for an appeal have merit will be sent within 10 business days
after the recelpt of the appeal. In cases Involving allegations of sexual assault or of a crime:
of violence, the Office of the Dean of Students will notify both the accused and the
complainant of the decision and the sanctlon imposed,

In the event a student Is found responsible for committing a sexual assault or crime of
vlolence, the Office of the Dean of Students reserves the right to disclose at its discretion the
result and sanction to other partles, The Office of the Dean of Students may inform a
student's parents of any finding of responsibility and related sanctions for viclations of
federal, state or local laws governing the possessian or use of alcohal or controled
substances. All hearing results may be shared Sy the Dean with relevant academic deans
and other university officials having a feg!tlmate educational Interest in such results.

 

 

Parental Notification

The Dean of Students or a designee, at his or her discretion, witl notify parents In writing of
disciplinary matters to the full extent permitted by law.

Student Conduct Records: When a student Is found responsible for violation{s) of the
University Code of Student Conduct, a disciplinary record will be established and maintained
in the Office of the Dean of Students,

Student disciplinary records will be maintained, per Federal regulations, for a minimum
period of seven years, ,

 

Summary Suspension

When an individual Is considered an imminent threat to persons or property, the Dean of
Students, the Director of Residential Life, or thelr designated representatives may Invoke an
immediate suspension from housing and/or the University, to be followed within a
reasonable period of time, under the particular circumstances, by a conduct hearing to
resolve the incident. ,

In the case of summary suspensions Imposed as a result of criminal charges, the suspension
may rernaln in effect until the matter fs resolved both off and on campus, Exampies of
behavior that may lead to Immediate suspension are, without limitation, physical violence,

' sexual assault, disruption of the educational misslen or civil Ilving environment of the
University, larceny, severe damage to property, and possession and distribution of contrailed
substances.

 

Summer Student Conduct Procedure

The Student Conduct Board will not be in session after the last class day of the academic
year, All complaints recelyed after the last day of classes will be resolved in an
Administrative Review/Adjudication hearlng unless referred to the Administrative Hearing
Board by the Office of the Dean of Students. After the last day of classes, the Administrative
Hearing Board may be comprised of three administrators and/or faculty members appointed
by the Dean of Students, Students taking any type of summer course and individuals fiving
in University housing during the summer are axpected to conform ta all regulations of the
University Code of Student Conduct. However, due to the abbreviated nature of the summer
term, summer stiidents may be subject to disciplinary procedures and sanctions Imposed at

 

 

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the reasonable discretion of the Office of the Dean of Students or the Office of Residential
Life,

University Stay Away Order

in tnstances where a student seriously disturbs or presents a potential threat to another
person, a University Stay Away Order may be imposed. The order, specific to a person
and/or location, prohibits the subject. of the order fram having any further direct or indirect
contact, such as emali, mail, text messages, or telephone, with the offended indivicual. In
addition, it prohibits contact by third parties on his or her behalf, This order could also
result In the alleged perpetrator being removed from class, on-campus employment, co-
curricular or other activities, and/or residential assignments as appropriate,

A Stay Away Order may be imposed summarily (¢.9., prior to a hearing) or as a result of a
hearing. Violation of a Stay Away Order would result in disciplinary action by the University.

SANCTIONS

An important objective of the University's Student Canduct System Is the education of all
participants through the process. Sanctions such as suspensions, probations, and community
service projects should not be regarded as punishments or controls but rather as educational
devices to assist the student in attaining the maturity required to live in society, Suspension
may be one way of telling the student that he or she is not yet ready for the living
environment and/or education a university offers, and this awareness itself may be a
significant step In educating the student. .

Please note that 4 record of disciplinary sanctlons may Impact a student's abitity to be a
Resident Assistant, student government officer, Orlentation Leader, Student Conduct Board
member, or other student laader position, Such-a record must be reported on most law
school applications, state bar exerniner reports, medical school applications, graduate school
forms, college transfer farms, and in some Instances job applications, particularly for federal
or state positions. In addition, any student suspended fromm housing or the University or wha
has been placed on University Probation could be prohibited frem participating In
international study programs,

Cerstain vioiations may result in a minimnum mandatory sanction of a summary suspension
from housing ar the University. Please see below for more Information.

In situations where the Dean or designee feels that the individual poses a potential threat te
the safety of the University carnmunity, a determination may be made to Issue a surmmary
suspension from housing and/or the University. If implemented, the summary suspension
remains in effect untt the matter Is resolved In a conduct hearing.

1, Finest Certain offenses will result In monetary sanctions, Financtal penalties will be
applled te a student's account, Community restitutlon pregrams may be substituted for fines
if approved by an appropriate administrator,

2. Restitution: Compensation to the Injured party, payment for damages, and/or “court
costs" for hearing appearances of the police when such appearances are key to a case and if
the accused Is found responsible.

3. Disciplinary Probation: A formal notification, followed by written or
electronic confirmation that the activity in question is unacceptable and that if continued or
other inappropriate behavior follows, more severe action may be taken,

4, Housing Probation: Any similar or more serious violation of the University Code of
Student Conduct while on this status will result in efther placernent on University Probation,
the Imposition of a suspension or dismissal from University housing or an extension of the
current probationary status, .

5. Suspension from Liniversity Housing: Requires moving olt.of housing for the length
of time specified at the hearing, Any student who receives a suspension from University
Housing wiil lose eligiblilty to live In the Modular Apartment (Mods) area,

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6 Housing Dismissali Requires permanently’ moving out of housing. The student may
not reapply fer residency.

7, University Probation: A sirntlar or more serlous violation of the University Code of
Student Conduct while on this status wii] result in the mandatory Imposition of a suspension
or dismissal from the University, the length belng a minimurn of the balance of the semester
or one full semester,

8, Delay in Awarding Degrees: The University reserves the right to delay the awarding
of any degree in instances where a camplaint remains pending against a student.

9. University Suspension; Requires that the student no longer be present on any Boston
Collage owned cr leased property for the time specifled at the hearing {minimum of one
semester or the balance of the semester). Any student who receives a suspension from the
University will jose eligibility to live in the Modular Apartment (Mods) area, In addition, in the
case of graduating seniors, the University reserves the right to withhold, for a specifled
petlod of time, the awarding of their degree, While on suspension, a student may not take
courses to advance his or her degree, Students cannot be readmitted until after the date
their suspension ends, nor may they register or pre-register for the following semester's
courses. The graduation date will be adjusted upon readmission according to the length of
the suspension, Please contact your academic dean's office for additional information.

 

10, Dismissal from the University: Requires that the student completely sever any and
all connection with Boston College.

Other Sanctions

1. Privilege Ban {e.g., Recreational Complex, social gatherings, parking, sound
equipment)

2. Referral for Appropriate Counseling or Guidance

 

3. Community Restitution Project (i.¢., work projects on or off campus)
4, Afeohol Education Program and assoctated fee

5, Mod Restriction or Administrative Placement the., student leses the opportunity to
live fn the Modular Apartments or to participate In the Housing Room Selection Process)

6, Housing Relocation (j.e,, mandatory move to a different residence hall or area} -

7, Campus Ban (i.2., persona non grata, student ls banned from being present on the
entire campus or on specifled areas of the campus)

 

 

8. Student Activity Ban {l.e,, student is prohibited from participating in specified ar all
student clubs/organizations or fromm participating in intercollegiate activitles/athtetles)

9, Educational Project (i.¢,, student is required to conduct research or a project in an
area relevant to the offense)

10, Stay Away Order (i.¢., student Is prohibited from having any contact—direct, {nclrect,
or third party on his or her behalf—with a particular person, with violation resulting In
possible University Suspension) '

ti. Revocation of Degree

12. Other Appropriate Alternatives

 

Sanctions may be combined for varying levels of misconduct, Non-comopllance with or failure
to méet the terms cf a sanction Imposed at any conduct hearing may result In housing
and/or University Suspension, Housing and/or class registration may also be delayed
pending completion of sanctions.

 

Minimum Sanctions

 

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Community Standards Sanctions

The Student Conduct System exists to maintain an environment that is complementary fo
the mission of Boston College, and to foster student learning and development: In addition,
it seeks to protect the rights of the Boston College students accused of a breach of the
University Code of Student Conduct or the Conditions of Residency. The Student Conduct
System takes an educationally proactive and integrative approach to address community ,
standards violations. Sanctions are educational devices designed to assist students in
attaining the maturity required to live in cammunity,

In the Interest of clarity and transparency, the University has established minimum,
mandatory sanctions for policy violations, Please note that no sanctions are imposed without

~ a meeting with a professional staff member. The Incident or conflict may then be resolvecl
administratively with the staff member or at an appearance before a conduct board. At the
time of thts meeting, students will have the opportunity to review an incident report and to
offer thelr perspective on the alleged violation. tn order for the sanctions below to be
imposed, a student must be found “responsible” for a violation of the Code of Conduct ata
hearing.

 

Violations of the Code of Conduct impact ail members of the Bosten College community.
Depending on the nature, severity, and impact (both on the individual and on the
community) sanctions are impesed with progressing levels. In addition, a student's history of
repeated vielations will also be talcen Into consideration when arriving at a decision regarding
the level of sanction,

Non-compliance with or fallure to meet the terms of a sanction Imposed at any conduct
heating may result in Housing and/or University Suspension. A student records freeze
(Housing, Registratlon, Student Accounts) or a suspension from University housing may be
involved pending completion of sanctions, The sanctions belaw are minimums only and may
be increased by the hearing officer or conduct Doard,

Alcohal Violations

*Seeking Help for Aicohel Related Medical Emergencies

 

 

ix! file

 

 

 

 

‘The health and safety of Boston College students is of paramount concern. As a resutt, all
students are expected to seek appropriate assistance for themselves or athers in situations
where help Is needed to ensure proper care of a person who js significantly intoxicated or
under the influence of drugs.

In situations where students seek medical attention due to alcohol intoxication or drug
ingestion, Boston College will support and encourage this behavior by treating It as a health
and safety matter, not as a disciplinary incident, This practice will also be extended to

anyone seeking or calling for help on behalf of another student. Students whe seek and
recelve medical attention will be required to complete certain ediicational and/or counseling
initiatives which are Intervention and prevention based and will also be subject to all fees '
related to their medical care. Students who demonstrate consistent and repeated patterns

af such behavior may require further medica! review and/or treatment up to, when

necessary, Mandated medical jeaves of absence, Fallure to complete these referrals would .
be treated as a disciplinary matter.

Students will be held accountable for misconduct accompanying or incidental to the
use/abuse of alcohol or other substances. For example, disorderly behavior, violence,
property damage, or distripution or Intent to distribute will be treated as disciplinary
violations and will be responded to accordingly. For medical assistance, please contact
Health Services at {6173 552-3227; for an immediate response contact the BC Pollce at

(617) 552-4444, For a list of possible referrals and programs, please visit
www beecu/ade,

 

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Drug Violations

 

 

 

 

 

Note: Examples of Drugs in Each Drug Class
Class A: Herain

Class B: isp, Cocaine

Class C: Mushrooms

Class D: Marijuane
_ Class E: Non-presecribed use of prescription drugs

Off-Campus Community Disturbance Violations

 

 

 

ix] file

 

 

 

circumstances and documented behavior

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Note: In general, a “small” gathering is Jess than 30 students subject to

1. Menu items include but are not limited to: ADE Referrals, Formative Referrals, Reflection

Papers, or Community Service

2. ADE Referral: For alcohol and other drug education/treatment (Choices, BASICS, or AIM)

3. AIM: 10-week mandatory group program with individual component

4. Roads Retreat; Off-campus retreat for students at risk

5. Substance Abuse Program: Drug education course (e-Toke)

6. Formative Referral! Conversation with a member of the student formation program

7. Community Restitution: Educational program that includes service, written reflection, and

a concluding group discussion

8. Students placed on University Probation for a community disturbance yielation may
attend the Friday Night Helghts program to reduce the sanction te Housing Probation (first

tlme placed on University Probation only),

®. Students coud opt to attend Friday Night Heights to remove the Mod Restriction and,
reduce University Prabation to Diselpiinary Probation cne time only.

Other Minimum Mandatory Sanctions

1. Central alcohol source {e.9., kegs, beerbalis, punch bowls, trash cans) or
excessive amounts of alcohol (beyond personal consumption}: Over 21 Years of
Age—Hausing Probation; Under 21 Years of Age--Housing Suspension

2. Enabling underage censumption of alcohol: Housing Probation; community service.

program

3. Faise IDs:

a, Possession, conspiring to obtain, or use: $100 fine; Housing Probation until age 24;

eommunity service; University Suspension for repeat offense

b. Manufacturing: University Suspension for one year; $500 fine; Housing Dismissal

4, Drug violations:

o

Guest use/possession: Housing Probation

or

, Drug paraphernalia possession: Housing Probatian

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c, Providing drugs to others (no monetary compensation): One year Housing Suspenslon;
substance abuse education program

d. Sale of drugs or possession of drugs with intent to distribute: University Suspension
(minimum one year}; Housing Dismissal

 

5. false fire alarms/smoke detectors:
a, ‘Deliberate: University Suspension (minimum one semester); reset cost
b, Negligence/accidental: Reset cost; community service program

6. Objects out window (that may cause injury}: One semester Housing Suspension;
community service program

 

7, Propping of residence hall doors:
1st Offense: $100 fine
2nd Offense: $200 fine; housing status revlew
8. Tampering with residence hall window screens:
| ist Offense: $200 fine .
2nd Offense: $200 fine; housing relocation
9, Candies or burning incense: Disciplinary Probation, $100 fine, and confiscation

10, Failure to evacuate for a fire alarm: Housing Probation, $100 fine, and
community restitution
AMENDING THE PROCEDURE

Proposals for amending the Student Conduct System should be submitted in writing to the
Office of the Dean of Students. .

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